Case 1:21-cr-00399-RDM Document 185-12 Filed 09/08/23 Page 1 of 8




                 Exhibit
Case 1:21-cr-00399-RDM Document 185-12 Filed 09/08/23 Page 2 of 8
Case 1:21-cr-00399-RDM Document 185-12 Filed 09/08/23 Page 3 of 8
Case 1:21-cr-00399-RDM Document 185-12 Filed 09/08/23 Page 4 of 8
Case 1:21-cr-00399-RDM Document 185-12 Filed 09/08/23 Page 5 of 8
Case 1:21-cr-00399-RDM Document 185-12 Filed 09/08/23 Page 6 of 8
Case 1:21-cr-00399-RDM Document 185-12 Filed 09/08/23 Page 7 of 8
Case 1:21-cr-00399-RDM Document 185-12 Filed 09/08/23 Page 8 of 8
